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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

MARITZA SEPULVEDA,                                §
                                                  §
                  Plaintiff,                      §
                                                  §
v.                                                §      CIVIL ACTION NO. 3:20-cv-01194-N
                                                  §
BOOMERJACK’S ADDISON, LLC; and                    §
STAFF ONE HR II, INC.,                            §
                                                  §
                  Defendants.                     §

                          STIPULATION OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff, through her

undersigned counsel, and Defendants, through their undersigned counsel, that the above-captioned

action be and is hereby dismissed, with prejudice, including without limitation, all claims which Plaintiff

has asserted or could have asserted against Defendants, and with no award of attorneys’ fees or costs by

the Court to any party.

 /s/ Susan E. Hutchison                               /s/ Talley R. Parker
 Susan E. Hutchison                                   Talley R. Parker
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